8:12-cr-00391-JFB-SMB         Doc # 717    Filed: 11/14/16    Page 1 of 1 - Page ID # 5519




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                   8:12CR391

       v.
                                                                    ORDER
JOHN WAYS, JR., FRANK FIROZ,
CHRISTIAN FIROZ, RHONDA DECAMP,
CONSTANCE HAGELSTEIN, JOSHUA
WELLBORN, ALAN DAVIS, MARK
COONEY, MICHAEL BLACKSTONE, DAVID
ROBERTS, NKOSI, INC., a Nebraska
corporation; and JEANETTE BELK,

                     Defendants.




       This matter is before the court on its own motion. The prosecution of this case has

proceeded to conclusion with respect to all defendants except NKOSI, Inc. The court’s

finding that NKOSI’s corporate entity should be disregarded and that NKOSI, Inc. is the alter

ego of defendant John Ways, Jr., (Filing No. 584), the affirmance of that finding by the

United States Court of Appeals for the Eighth Circuit (Filing No. 707), and entry of the Final

order of Forfeiture (Filing No. 709) dispose of the action as it relates to defendant NKOSI,

Inc. Accordingly,

       IT IS ORDERED:

       The Clerk of Court is directed to close this criminal case against defendant NKOSI,

Inc.

       Dated this 14th day of November, 2016.


                                                  BY THE COURT:

                                                  s/ Joseph F. Bataillon
                                                  Senior United States District Judge
